Case 2:04-cr-20472-.]DB Document 42 Filed 08/01/05 Page 1 of 2 Page|D 52

\ t;).:j.
iN THE uNiTEo sTATEs DisTFilcT coui=iT J“
r-'on THE wEsTEaN DisTarcT oF TENNE,ss §§ _1 m 12 3‘
wEsTEaN Divisioi\i i

 

 

UN|TED STATES OF A|ViEFtiCA
P|aintiff

VS.
CR. NO. 04-20472-!3

JOHN WAYNE GLENN,

Defendant.

 

ORDEF{ ON CONT|NUANCE AND SPEC|FY|NG PEFt|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date due to defendants
absencel

The Court granted the request and reset the trial date to October 3, 2005 with a

re ort date of N|onda Se tember 26 2005 at 9:30 a.m., in Courtroom 1, ttth Floor

 

of the Federa| Bui|ding, Memphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U. S. C. § 3161(h)(8)(B)(iv) because the ends of justice served` in allowing for additional
time to prepare outweigh the need for a sp edy tria|.

|T iS SO ORDERED this ls` dam ,2005.

 

NlEL BREEN “M\
NDiT o sTATEs DisTaicT JuDGE

=ii..;- gpci_;i.ze.»t andrea uii_i=*it: merely;:i?.: 'e‘Oi;)i-ii\,;.:rd :\.i.t;
rath i-`iuie 55 andr”or 32lb) ritch on _ 5

@

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:04-CR-20472 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Dan NeWSom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

